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              EXHIBIT 3
4/24/25, 4:07 PM       Case 1:25-cv-10787-BEM NOT-OD-25-084:
                                                Document       38-3
                                                             NIH           Filed
                                                                 Operates Under    04/25/25
                                                                                a Continuing ResolutionPage 2 of 2

  NIH Operates Under a Continuing Resolution
  Notice Number:
  NOT-OD-25-084

  Key Dates
  Release Date:

  April 3, 2025

  Related Announcements
            January 10, 2025 - NIH Operates Under a Continuing Resolution. See Notice NOT-OD-25-054.
            October 10, 2024 - NIH Operates Under a Continuing Resolution. See Notice NOT-OD-25-010.

  Issued by
  NATIONAL INSTITUTES OF HEALTH (NIH)

  Purpose
  The Department of Health and Human Services (HHS), including National Institutes of Health (NIH), operates
  under the Full-Year Continuing Appropriations and Extensions Act, 2025 (Public Law 119-4) signed by
  President Trump on March 15, 2025. This Act (CR) continues government operations through September 30,
  2025, at the Fiscal Year (FY) 2024 enacted level, with no reduction.

  Consistent with NIH practices during FYs 2006 - 2024, NIH Institutes and/or Centers may, at their discretion,
  issue non-competing research grant awards at a level below that indicated on the most recent Notice of Award.
  All legislative mandates that were in effect in FY 2024 (see NOT-OD-24-110) remain in effect under this CR, as
  well as the salary limitation set at Executive Level II of the Federal Pay Scale (see NOT-OD-24-057) and the
  Ruth L. Kirschstein National Research Service Award predoctoral and postdoctoral stipend levels and
  tuition/fees as described in NOT-OD-24-104.

  Inquiries
  Please direct all inquiries to:

  Questions regarding adjustments applied to individual grant awards may be directed to the Grants Management
  Specialist identified in the Notice of Award.

  Weekly TOC for this Announcement
  NIH Funding Opportunities and Notices




https://grants.nih.gov/grants/guide/notice-files/NOT-OD-25-084.html                                                  1/1
